          Case 2:06-cr-00026-RSL         Document 248        Filed 10/27/06      Page 1 of 4




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07                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
08                                     AT SEATTLE

09 UNITED STATES OF AMERICA,              )
                                          )
10               Plaintiff,               )
                                          )             Case No.: CR06-26 RSL
11         v.                             )
                                          )
12   SAIMON MELACU,                       )             DETENTION ORDER
                                          )
13               Defendant.               )
     ____________________________________ )
14

15 Offenses Charged:

16          Conspiracy to Distribute Cocaine Base in violation of 21 U.S.C. §§ 841(a)(1); (b)(1)(A);

17 and 846; and Possession of Cocaine Base with Intent to Distribute, in violation of 21 U.S.C. §§

18 841 (a)(1); (b)(1)(A); (b)(1)(c) and 18 U.S.C. §2.

19 Date of Detention Hearing:

20          On August 15, 2006, the defendant made his initial appearance. On August 18, 2006, a

21 detention hearing was held before United States Magistrate Judge James P. Donohue after which,

22 defendant was released on an appearance bond that included restrictions that he comply with all

23 requirements of the Global Positioning Satellite program (GPS) and not use, consume, or possess

24 a controlled substance, unless the substance was prescribed to him by a physician. On October

25 10, 2006, the defendant pleaded guilty to Conspiracy to Distribute Cocaine Base, in violation of

26 21 U.S.C. §§ 841 (a)(1); (b)(1)(B) and 846. He is currently scheduled for sentencing before the

     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
     PAGE 1
          Case 2:06-cr-00026-RSL          Document 248        Filed 10/27/06      Page 2 of 4




01 Honorable Robert S. Lasnik on February 2, 2007.

02           On October 6, 2006, Pretrial Services filed a Petition for Warrant for Defendant Under

03 Pretrial Services Supervision, alleging that the defendant had violated the terms and conditions

04 of his bond as follows:

05          1.     Saimon Melacu has failed to comply with the special bond condition that he abide

06 by all requirements of the Global Positioning Satellite program (GPS) by having unauthorized

07 travel on or about October 3, 2006.

08          2.     Saimon Melacu has failed to comply with the special bond condition that he abide

09 by all requirements of the GPS program by leaving his residence without permission on or about

10 September 29, 2006.

11          3.     Saimon Melacu has failed to comply with the standard bond condition that he not

12 use, consume, or possess any controlled substance without a physician’s prescription by

13 continuing to test positive for THC (marijuana) on or about September 29, 2006.

14          On October 17, 2006, Pretrial Services filed a Supplemental Violation Report alleging that

15 the defendant had violated the terms and conditions of his bond as follows:

16          4.     Saimon Melacu has failed to comply with the standard bond condition that he not

17 use, consume, or possess any controlled substance without a physician’s prescription by using

18 Marijuana on or about October 6, 2006.

19          On October 24, 2006, the defendant appeared before the undersigned Magistrate Judge.

20 He was advised of his rights in connection with the government’s motion to revoke the bond. At

21 the hearing, the defendant admitted violations 1 and 2 and denied alleged violations 3 and 4. An

22 evidentiary hearing on violations 3 and 4 was set for November 3, 2006 to address these alleged

23 violations. Because the defendant was ordered detained for admitted violations 1 and 2, the

24 hearing scheduled for alleged violations 3 and 4 was stricken by agreement of counsel

25          After taking the admission of the defendant that he violated the pretrial bond as alleged

26 in violations 1 and 2, the Court then considered whether the bond at issue should be revoked.

     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
     PAGE 2
           Case 2:06-cr-00026-RSL         Document 248        Filed 10/27/06      Page 3 of 4




01 Pursuant to CrR 32.1, CrR46(c) and 18 U.S.C. § 3142(f), and based upon the factual findings and

02 statement of reasons for detention hereafter set forth, finds:

03          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

04          (1)     On August 18, 2006, defendant was released on bond with pretrial supervision and

05 special conditions.

06          (2)     The defendant has failed to abide by the terms of his bond, and has admitted the

07 same.

08          (3)     The defendant has pleaded guilty to Count 1 in the Indictment.

09          (4)     The third party custodian appointed by the Court has failed to comply with his

10 obligations.

11          (5)     There appear to be no conditions or combination of conditions other than detention

12 that will reasonably assure the defendant’s appearance at future Court hearings as required, and

13 that will address the risk of the defendant’s danger to the community.

14          IT IS THEREFORE ORDERED:

15          (1)     Defendant shall be detained pending trial and committed to the custody of the

16                  Attorney General for confinement in a correction facility separate, to the extent

17                  practicable, from persons awaiting or serving sentences or being held in custody

18                  pending appeal;

19          (2)     Defendant shall be afforded reasonable opportunity for private consultation with

20                  counsel;

21          (3)     On order of a court of the United States or on request of an attorney for the

22                  government, the person in charge of the corrections facility in which defendant is

23                  confined shall deliver the defendant to a United States Marshal for the purpose of

24                  an appearance in connection with a court proceeding; and

25 / / /

26 / / /

     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
     PAGE 3
          Case 2:06-cr-00026-RSL       Document 248        Filed 10/27/06     Page 4 of 4




01         (4)   The Clerk shall direct copies of this Order to counsel for the United States, to

02               counsel for the defendant, to the United States Marshal, and to the United States

03               Pretrial Services Officer.

04         DATED this 26th day of October, 2006.

05
                                               s/ James P. Donohue
06                                             JAMES P. DONOHUE
                                               United States Magistrate Judge
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     DETENTION ORDER                                                                       15.13
     18 U.S.C. § 3142(i)                                                                Rev. 1/91
     PAGE 4
